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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-35 (EGS)
V. : MAGISTRATE NO. 21-MJ-233

: GRAND JURY ORIGINAL
JEFFREY SABOL, 3
PETER FRANCIS STAGER, : VIOLATIONS:
MICHAEL JOHN LOPATIC SR., > =18 U.S.C. § 1512(c)(Q2), 2
CLAYTON RAY MULLINS, and : (Obstruction of an Official Proceeding)
JACK WADE WHITTON, : 18 U.S.C. §§ 111(a)(1) and (b)

:  (Assaulting, Resisting, or Impeding

Defendants. : Certain Officers Using a Dangerous
Weapon)

18 U.S.C. §§ 111(a)(1) and (b), 2
(Assaulting, Resisting, or Impeding
Certain Officers and Inflicting Bodily
Injury)

18 U.S.C. § 111(a)()

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
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18 U.S.C. § 1752(a)(4)
(Engaging in Physical Violence in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(F)
(Violent Entry and Disorderly Conduct in
a Capitol Building)
INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, PETER
FRANCIS STAGER attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, by entering and remaining in the United States

Capitol without authority and committing an act of civil disorder.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, JEFFREY SABOL,
PETER FRANCIS STAGER, and JACK WADE WHITTON, using a deadly or dangerous
weapon, that is, a baton, flag pole, and crutch, did forcibly assault, resist, oppose, impede,
intimidate, and interfere with, an officer and employee of the United States, and of any branch of
the United States Government (including any member of the uniformed services), and any person
assisting such an officer and employee, that is, B.M., an officer from the Metropolitan Police
Department, while such officer or employee was engaged in or on account of the performance of
official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))
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COUNT THREE

On or about January 6, 2021, within the District of Columbia, CLAYTON RAY
MULLINS, did forcibly assault, resist, oppose, impede, intimidate, interfere and inflict bodily
injury on, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, while such officer or employee was engaged in or on account of the
performance of official duties, that is, A.W., an officer from the Metropolitan Police Department.

(Assaulting, Resisting, or Impeding Certain Officers and Inflicting Bodily Injury and

Aiding and Abetting, in violation of Title 18, United States Code, Sections 111(a)(1) and (b),
and 2)

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, CLAYTON RAY
MULLINS did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer
and employee of the United States, and of any branch of the United States Government (including
any member of the uniformed services), and any person assisting such an officer and employee,
that is, B.M., an officer from the Metropolitan Police Department, while such person was engaged
in and on account of the performance of official duties, and where the acts in violation of this
section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT FIVE
On or about January 6, 2021, within the District of Columbia, JEFFREY SABOL and

JACK WADE WHITTON did forcibly assault, resist, oppose, impede, intimidate, and interfere
with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is, A.W., an officer from the Metropolitan Police Department, while
such person was engaged in and on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, MICHAEL JOHN

LOPATIC SR. did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, C.M., an officer from the Metropolitan Police Department, while such person
was engaged in and on account of the performance of official duties, and where the acts in violation
of this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, JEFFREY SABOL, JACK
WADE WHITTON, and CLAYTON RAY MULLINS, committed and attempted to commit an
act to obstruct, impede, and interfere with a law enforcement officer, that is, Officer A.W., an
officer from the Metropolitan Police Department, lawfully engaged in the lawful performance of
his/her official duties incident to and during the commission of a civil disorder, and the civil
disorder obstructed, delayed, and adversely affected the conduct and performance of a federally
protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, JEFFREY SABOL,

PETER FRANCIS STAGER, MICHAEL JOHN LOPATIC SR., JACK WADE WHITTON,
and CLAYTON RAY MULLINS, committed and attempted to commit an act to obstruct,
impede, and interfere with a law enforcement officer, that is, Officer B.M., an officer from the
Metropolitan Police Department, lawfully engaged in the lawful performance of his/her official
duties incident to and during the commission of a civil disorder, and the civil disorder obstructed,
delayed, and adversely affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))
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COUNT NINE

On or about January 6, 2021, within the District of Columbia, MICHAEL JOHN
LOPATIC SR. committed and attempted to commit an act to obstruct, impede, and interfere with
a law enforcement officer, that is, Officer CM., an officer from the Metropolitan Police
Department, lawfully engaged in the lawful performance of his/her official duties incident to and
during the commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely
affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, JEFFREY SABOL,

PETER FRANCIS STAGER, and JACK WADE WHITTON did unlawfully and knowingly
enter and remain in a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, without lawful authority to do so, and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a baton,
flag pole, and crutch.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)C1)(A))
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COUNT ELEVEN

On or about January 6, 2021, within the District of Columbia, JEFFREY SABOL,
PETER FRANCIS STAGER, and JACK WADE WHITTON, did knowingly, and with intent
to impede and disrupt the orderly conduct of Government business and official functions, engage
in disorderly and disruptive conduct in and within such proximity to, a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions and, during and in relation to the offense, did use and
carry a deadly and dangerous weapon, that is, a baton, flag pole, and crutch.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT TWELVE

On or about January 6, 2021, within the District of Columbia, JEFFREY SABOL,
PETER FRANCIS STAGER, and JACK WADE WHITTON, did knowingly, engage in any
act of physical violence against any person and property in a restricted building and grounds, that
is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a baton,

flag pole, and crutch.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(1)(A))
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COUNT THIRTEEN
On or about January 6, 2021, within the District of Columbia, MICHAEL JOHN
LOPATIC SR. and CLAYTON RAY MULLINS did unlawfully and knowingly enter and
remain in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting, without lawful authority to do so..

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOURTEEN

On or about January 6, 2021, within the District of Columbia, MICHAEL JOHN
LOPATIC SR. and CLAYTON RAY MULLINS did knowingly, and with intent to impede and
disrupt the orderly conduct of Government business and official functions, engage in disorderly
and disruptive conduct in and within such proximity to, a restricted building and grounds, that is,
any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, when and
so that such conduct did in fact impede and disrupt the orderly conduct of Government business
and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
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COUNT FIFTEEN
On or about January 6, 2021, within the District of Columbia, MICHAEL JOHN
LOPATIC SR. and CLAYTON RAY MULLINS did knowingly, engage in any act of physical
violence against any person and property in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT SIXTEEN
On or about January 6, 2021, within the District of Columbia, JEFFREY SABOL,

PETER FRANCIS STAGER, MICHAEL JOHN LOPATIC SR., JACK WADE WHITTON,
and CLAYTON RAY MULLINS willfully and knowingly engaged in an act of physical violence
within the United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON. .

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Attorney of the United States in
and for the District of Columbia.
